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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

SHELLY ROSENBLATT,

        Plaintiff,

        vs.

TOTAL RENAL CARE, INC.,
d/b/a DAVITA INC.,
a California corporation,

      Defendant.
____________________________________/

                                           COMPLAINT

        Plaintiff, SHELLY ROSENBLATT (hereinafter “ROSENBLATT”) sues Defendant

TOTAL RENAL CARE, INC (hereinafter “DAVITA”) and states as follows in support thereof:



                                  JURISDICTION AND VENUE

        1.      This is an action that involves a federal question and is therefore within the general

jurisdiction of this Court.

        2.      ROSENBLATT is within the jurisdiction of this honorable Court.

        3.      DAVITA is a California corporation conducting business in Broward County,

Florida and is within the jurisdiction of this Court.



                                              PARTIES

        4.      TOTAL RENAL CARE, INC. does business as DaVita, Inc.
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         5.    ROSENBLATT was, at all times material to this Complaint, employed by DAVITA,

in Broward County. ROSENBLATT worked at 600 SW 3rd Street, Suite 1100, Pompano Beach, FL

33060.

         6.    DAVITA is a California corporation with its principal place of business in Colorado.

DAVITA employs more than fifteen (15) employees. DAVITA is an “employer” within the

meaning of Title VII and the Florida Civil Rights Act (FCRA).



                COMPLIANCE WITH PROCEDURAL REQUIREMENTS

         9.    On February 21, 2017, ROSENBLATT filed a charge of discrimination with the

Equal Employment Opportunity Commission (EEOC), which was deemed to be dual-filed with the

Florida Commission on Human Relations (FCHR) based on the FCRA and the workshare

agreement between the EEOC and FCHR. (Exh. A).

         10.   On or May 18, 2018, ROSENBLATT filed second charge of discrimination with the

EEOC, which was deemed to be dual-filed with FCHR based on the FCRA and the workshare

agreement between the EEOC and FCHR. (Exh. B).

         11.   More than 180 days have passed since the filing of the Charge with FCHR, without

the FCHR conciliating the case or making findings adverse to Plaintiff.

         12.   On May 9, 2019, the EEOC sent ROSENBLATT a right to sue notice. The instant

lawsuit is being filed within 90 days of May 10, 2019.

         13.   All conditions precedent to filing suit have been met or have been waived.

         14.   All administrative prerequisites to filing suit have been met or have been waived.




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                                  FACTUAL ALLEGATIONS

       15.     DAVITA is a leading provider of kidney care in the United States, delivering

dialysis services to patients with chronic kidney failure and end-stage renal disease.

       16.     DAVITA receives patient compensation for its services through Medicare,

Medicaid, as well as private pay medical insurance plans.

       17.     ROSENBLATT began working with DAVITA in 1994.

       18.     ROSENBLATT is a registered nurse.

       19.     DAVITA terminated ROSENBLATT on February 27, 2018.

       20.     ROSENBLATT worked at DAVITA’s Pompano Beach, Florida location during the

time of her termination.

       21.     ROSENBLATT held the position of Clinical Care Coordinator. DAVITA promoted

Rosenblatt to that position because of her proficiency in her job.



                                             COUNT I

                           VIOLATION OF FLORIDA CIVIL RIGHTS ACT

       22.     ROSENBLATT filed an EEOC charge of discrimination against DAVITA on

February 22, 2017.

       23.     ROSENBLATT claimed in her charge that she had been subjected to unlawful

national origin and disability discrimination.

       24.     ROSENBLATT received favorable performance appraisals prior to the time that she

filed an EEOC charge of discrimination, or made any complaints of unlawful discrimination

pertaining to Felipe Monroy. As an example, on February 5, 2015 ROSENBLATT’S supervisor,




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Matthew Grey, wrote the following in the “Manager Overall Evaluation” section of

ROSENBLATT’S performance appraisal for 2014:

       “Shelly is a delight and a wealth of knowledge and serves as a wonderful clinical support.
       Shelly wears many hats in terms of FIM, Access Mgr, Med Reviews, Adequacy and Anemia
       Manager. She enjoys educating both the patients and clinical team on new initiatives,
       procedures, and technique. The doctors respect Shelly’s judgment and enjoy collaborating
       pt care. She is an asset not only to the IDT, but to the facility as a whole.”

       25.    Grey wrote that ROSENBLATT “[s]ays what he/she believes, and does what he/she

says. Is trusted by being trustworthy…” in the “Integrity” section of the same performance

appraisal.

       26.    Grey wrote that ROSENBLATT “…shares a common purpose, common culture and

common goals….” in the “Team” section of the same performance appraisal.

       27.    Grey wrote that ROSENBLATT “[n]ever stands still and is never satisfied,” in the

“Continuous Improvement” section of the same performance appraisal.

       28.    Grey wrote that ROSENBLATT “[d]oesn’t say, “It’s not my fault,” or “It’s not my

job” in the “Accountability” section of the same performance appraisal.

       29.    Grey wrote that ROSENBLATT “[m]akes a difference and feels rewarded-

personally and as part of the team….Believes” You must be the change you wish to see the world,

(Mahatma Gandhi) ” in the “Fulfillment” section of the same performance appraisal.

       30.    Grey wrote that ROSENBLATT “[w]orks well with others; establishes and

maintains good working relationships” in the “Colloboration” section of the same performance

appraisal.

       31.    Grey wrote that ROSENBLATT “Takes the job seriously, but feels a fun

environment delivers better care to our patients…[s]trives for excellent and fun,” in the “Fun”

section of the same performance appraisal.



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        32.    Matthew Grey was one of DAVITA’s highest level managers in Florida at about the

time he prepared ROSENBLATT’s 2014-15 performance appraisal.

        33.     Matthew Grey was Facility Administrator for DAVITA until in or about March

2015.

        34.     In or about 2015, DAVITA promoted Matthew Grey to the position of Regional

Home Modalities Manager and as such he was responsible for the overseeing the overall operations

of sixteen (16) South Florida Peritoneal Dialysis programs and six (6) home programs from West

Palm Beach to Key West, Florida.

        35.    In 2017, DAVITA, acting through its agents, including Felipe Monroe, issued

ROSENBLATT disciplinary actions after she filed in her charge of discrimination. These writeups

intensified over time.

        36.    At one point, on or about October 10, 2017, Felipe Monroe pushed ROSENBLATT

in the heat of an argument when Monroe took the side of nurses who improperly refused to give

patients flu vaccines and instead insisted that ROSENBLATT do it, although ROSENBLATT’s

role was primarily as an administrator.

        37.    Monroe also ridiculed ROSENBLATT at work meetings in front of coworkers. For

instance, on or about May 8, 2017, Monroe told ROSENBLATT, in front of several coworkers that

if she wasn’t gone in a year he would quit, or words to that effect. The medical director who was

present at the time told ROSENBLATT that she was doing a good job and not to take Monroe’s

comment personally.      Monroe further humiliated ROSENBLATT during the meeting when he

chastised ROSENBLATT for not cleaning the refrigerator.

        38.    Following the filing of ROSENBLATT’s first EEOC charge, Felipe Monroe

required that ROSENBLATT spend an inordinate amount of time on clinical, as opposed to



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administrative duties. DAVITA treated ROSENBLATT’s replacement differently in that her

replacement was not expected to do the same amount of clinical work as ROSENBLATT.

       39.     DAVITA, acting through its agents, including Felipe Monroe, fabricated several

alleged performance issues as a pretext to justify her termination.

       40.     DAVITA was motivated in its unequal treatment of ROSENBLATT because of her

previous complaints of unlawful discrimination, including the filing of an EEOC charge.

       41.     ROSENBLATT was terminated as the result of her complaints.

       42.     DAVITA, through the actions of their agents, terminated ROSENBLATT in

violation of Fla. Stat. § 760.10 (7).

       43.     DAVITA’s actions were intentional or were taken with reckless disregard of

ROSENBLATT’s rights under the Florida Civil Rights Act.



                                COUNT II – VIOLATION OF TITLE VII

       44.     DAVITA engaged in unlawful employment practices in violation of Section § 704

(a) of Title VII, 42 U.S.C. §§ 2000e-3 when ROSENBLATT was terminated.

       7.      DAVITA’s actions were intentional or were taken with reckless disregard of

ROSENBLATT's rights under Title VII.

       WHEREFORE, ROSENBLATT asks this Court to grant the following relief:

       a.      Issue a declaratory judgment finding that DAVITA’s conduct toward

ROSENBLATT violated the Florida Civil Rights Act and Title VII;

       b.      Enjoin and restrain DAVITA and all other persons acting on behalf of, or in concert

with them, from engaging in such unlawful practices;




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       c.     Enter judgment in favor of ROSENBLATT and against DAVITA for backpay in the

amount of wages and fringe benefits it is determined that ROSENBLATT has lost as a result of

DAVITA's unlawful conduct, together with prejudgment interest from the date of the violations;

       d.     Enter judgment in favor of ROSENBLATT and against DAVITA for pecuniary and

non-pecuniary compensatory damages together with pre-judgment interest;

       e.     Award ROSENBLATT punitive damages pursuant to Fla. Stat. § 760.11 and Title

VII, 42 U.S.C. § 1981a;

       f.     Award ROSENBLATT a reasonable attorney’s fee, pursuant to Fla. Stat. § 760.11

AND Title VII, 42 U.S.C. § 2000e-5, together with costs of this action; and

       g.     Award such other and further legal and equitable relief as may be appropriate to

redress fully the deprivation of Plaintiff ROSENBLATT’s rights, to prevent reoccurrence of similar

acts in the future and to protect DAVITA’s other employees from such unlawful behavior.




                                    DEMAND FOR JURY TRIAL

       ROSENBLATT demands trial by jury on all issues so triable.



                                     Respectfully submitted,

                                     GARY A. COSTALES, P.A.
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                                     (305) 375-9510
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                                     /s Gary A. Costales__________
                                     Gary A. Costales, Esq.
                                     Florida Bar No. 0948829


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                                                            Exh. A
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                                                                        Exh. B
